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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,
Plaintiff,

Vv. Civil Action No. 17-10609-RGS
$36,000 IN UNITED STATES CURRENCY
SEIZED FROM ZACHARY J. BATTAINI AT
BOSTON LOGAL INTERNATIONAL AIRPORT

ON NOVEMBER 26, 2016,
Defendant

ZACHARY J. BATTAINI,
Claimant.

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FINAL JUDGMENT AND ORDER OF FORFEITURE
STEARNS, D.J.

This Court having allowed the Parties’ Joint Motion for Final Judgment and Order of
Forfeiture, it is hereby ORDERED, ADJUDGED and DECREED:

l. Judgment by agreement of the Parties is hereby entered (1) for the forfeiture of
$33,000 in United States currency (the “Forfeited Currency”) to the United States, pursuant to 21
U.S.C. § 881(a)(6); and (2) for the release of $3,000 in United States currency (the “Released
Currency”) to the Claimant Zachary J. Battaini, via his attorney, Geoffrey G. Nathan, Esquire.

2. The Forfeited Currency shall be disposed of by the United States Drug
Enforcement Administration, pursuant to the provisions of the Settlement Agreement entered
into between the Parties, and applicable law.

3. The Released Currency shall be returned to Zachary J. Battaini, via his attorney,
Geoffrey G. Nathan, Esquire, by the United States Drug Enforcement Administration, pursuant

to the provisions of the Settlement Agreement entered into between the Parties, and applicable
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law.
4, Any claim of interest of any other parties claiming any right, title, or interest in or
to the Forfeited Currency and/or the Released Currency is hereby held in default and dismissed.
5. This Court shall retain jurisdiction in this case solely for the purpose of enforcing
the terms of this Judgment. Otherwise, this Order shall be, and hereby is, the full and final
disposition of this civil forfeiture action.

Aoi.
DONE and ORDERED in Boston, Massachusetts, this Sijaay of fecembey __, 2046"

 
   

RIGHARD G. STEARNS
United States District Judge
